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              IN T H E UNITED STATES DISTRICT COURT
            F O R T H E NORTHERN DISTRICT OF G E O R G I A
                          ATLANTA DIVISION


JOHN O. DeVRIES, on behalf of
himself and all others similarly
situated,

         Plaintiffs,

V.                                           C I V I L ACTION F I L E
                                             NO. l:15-CV-3794-MHC
PRIVATE L A B E L
NUTRACEUTICALS, L L C ,
A V E X Y L PHARMA, L L C ,
ERIKSON PHARMACEUTICALS,
B J A R T E R E N E , and MELISSA
RENE,

         Defendants,



                                    ORDER

      This matter is before the Court on the parties' Consent Motion Seeking

Court Approval of Settlement and Dismissal with Prejudice [Doc. 18].

      The Court reviewed the Settlement Agreement and Release [Doc. 21-1] to

determine its adequacy and consistency with the requirements of the Fair Labor

Standards Act, 29 U.S.C. § 216. See Lynn's Food Stores, Inc. v. United States,

679 F.2d 1350, 1353 (11th Cir. 1982). Based on its review of the parties'
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agreement and the record in this case, the Court concludes: (1) the terms of the

Settlement Agreement and Release for all parties are a fair, reasonable, and

adequate resolution of this action; and (2) the Settlement Agreement and Release

was reached between Plaintiff and Defendants in an adversarial context where both

parties had legal representation.

      Upon consideration of the Consent Motion Seeking Court Approval of

Settlement and Dismissal with Prejudice, the Court ORDERS that the payment of

the settlement amount shall be made as provided in the Settlement Agreement and

Release. The parties have agreed that they will be responsible for their own

attomey's fees and costs arising from or in any way related to the matters that are

the subject of the Settlement Agreement and Release.

      Accordingly, the Court GRANTS the Consent Motion Seeking Court

Approval of Settlement and Dismissal with Prejudice [Doc. 18], APPROVES the

parties' Settlement Agreement and Release, and hereby DISMISSES all claims in

the above-styled action W I T H PREJUDICE.

      IT IS SO ORDERED this 16th day of March, 2016.




                                       MARK H. COHEN
                                       United States District Judge

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